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                                      UNITED STATES DISTRICT COURT
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                                     CENTRAL DISTRICT OF CALIFORNIA
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                  BLK. ENTERPRISES, LLC, a New                Case No.: 2:18-cv-02151-SVW-KS
            12
                  York limited liability company,
                                                              ORDER TO CONTINUE
            13
                                      Plaintiff,              TRIAL AND RELATED
                                                              DEADLINES
            14
                               vs.

            15
                  UNIX PACKAGING, INC., a
                  California corporation, PHOEBE XU,
            16
                  an individual, and JOHN DOES ONE
                  through TEN,
            17
                                      Defendants.
            18

            19          This Court, having reviewed the foregoing stipulation submitted by Plaintiff
            20   BLK Enterprises, LLC (“Plaintiff”) and Defendants Unix Packaging, Inc. (“Unix”)
            21   and Phoebe Xu (“Xu”), and finding good cause to continue the trial date and related
            22   deadlines thereto as set forth in the stipulation,
            23          IT IS THEREFORE ORDERED that:
            24    ///

            25    ///

            26    ///

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                             [PROPOSED] ORDER TO CONTINUE TRIAL AND RELATED DEADLINES
223187.1
           Case 2:18-cv-02151-SVW-KS Document 37 Filed 07/25/18 Page 2 of 2 Page ID #:310



             1              1. The Pretrial Conference Date be continued from September 17, 2018
             2                 at 3:00 p.m. to October 22, 2018 at 3:00 p.m.
             3              2. The Trial Date be continued from October 22, 2018 at 9:00 a.m. to
             4                 November 6, 2018 at 9:00 a.m., and
             5              3. All other deadlines that are based upon the Court’s Civil Trial
             6                 Preparation Order shall be based on the new trial date.
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                 DATED: July 25, 2018               ____________________________________
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                                                        Honorable Stephen V. Wilson
            10                                          United States District Judge

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                           [PROPOSED] ORDER TO CONTINUE TRIAL AND RELATED DEADLINES
223187.1
